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                                                                             FILED IN CHAMBERS
                                                                                   U.S.D.C. - Atlanta

                                                                                   SEP 302013
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                              IN THE UNITED STATES DISTRICT coJI~                            ~~t::i:'---r
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

             CAL VIN THOMAS FURLOW,                    ....   MOTION TO VACATE
                  Movant,                              ....   28 U.S.C. § 2255
                                                       ....
                   v.                                  ....   CRIMINAL ACTION NO .
                                                       ....   1:08-CR-3 71-0DE-AJB-1
                                                       ....
             UNITED STATES OF AMERICA,                 ....   CIVIL ACTION NO.
                 Respondent.                           ....   1: 13-CV-253-0DE-AJB

                                                    ORDER

                   Movant, pro se, seeks to vacate his sentence under 28 U.S.C. § 2255. (Doc.

             379.) Magistrate Judge Baverman issued a Report and Recommendation ("R&R")

             that recommends denying the § 2255 motion and denying a certificate ofappealability.

             (Doc. 386.) Movant filed objections to the R&R. (Doc. 392.)

                   A district judge must conduct a "careful and complete" review of a magistrate

             judge's R&R. Williams v. Wainwright, 681 F.2d 732, 732 (lIth Cir. 1982). This

             review takes different forms, depending on whether there are objections to the R&R.

             The district judge must "make a de novo determination ofthose portions ofthe [R&R]

             to which objection is made," 28 U.S.C. § 636(b)(l), while those portions ofthe R&R

             for which there is no objection are reviewed only for clear error, Macort v. Prem, Inc.,

             208 F. App'x 781,784 (lIth Cir. 2006).




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                    Movant contends in his § 2255 motion that the Court erred in sentencing him

              to a statutory minimum of twenty years' imprisonment based on a prior felony drug

              conviction. Movant contends that Respondent incorrectly identified the date of the

              prior conviction in its information filed pursuant to 21 U.S.C. § 851.

                    The conviction at issue was rendered in case number 89CR2193 in the Superior

              Court ofDeKalb County, Georgia. (Doc. 41-1.) On October 13, 1989, Movant pled

              guilty in the DeKalb case to possessing cocaine with intent to distribute it and was

              placed on probation for three years under Georgia's First Offender Act. (Id.) Movant

              contends that the actual conviction did not occur until three years later when his first-

              offender status was revoked. Judge Baverman found, pursuant to Eleventh Circuit

              authority in similar cases, that for purposes ofMovant's federal sentence enhancement

              under 21 U.S.C. § 841 (b)( 1)(A)(viii) the state conviction occurred when Movant pled

              guilty on October 13, 1989. Judge Baverman found United States v. Tavira, 348 F.

              App'x 464 (lIth Cir. 2009) to be a materially indistinguishable case that controls

              Movant's case.

                    Judge Baverman noted that "Movant's arguments are hyper-technical." (Doc.

              386 at 11.) That is an understatement. Like his other filings, Movant's objections to




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              the R&R are based on hyper-technical arguments, rhetoric, hyperbole, and a desperate

              attempt to distinguish controlling Eleventh Circuit law. 1

                    The Court agrees with the R&R's finding that Tavira is on point. Like Movant,

              the federal defendant in Tavira was convicted in this Court of cocaine offenses and

              sentenced to the statutory minimum sentence oftwenty years' imprisonment based on

              a prior felony drug conviction in a Georgia state court. Tavira, 348 F. App'x at 464­

              65. This Court and the Eleventh Circuit held that the state conviction occurred when

              the defendant pled guilty in state court even though he was, at that time, sentenced to

              probation under Georgia's first offender statute and was not considered to have a

              criminal conviction under Georgia law. Id.

                    While Movant argues that he was not convicted in his state case until the

              revocation proceedings in 1992, three years after he pled guilty, nothing in Tavira

                      1 Many of Movant's complaints        in his objections are not relevant to the
               adjudication of his claims. For example, Movant objects to the R&R's "non­
               chronological" description ofthe factual background and Judge Baverman's decision
               to first discuss the "heart ofthe matter" on page three ofthe sixteen-page R&R rather
               than on pages one or two. (Doc. 392 at 3.) Movant also criticizes the R&R's failure
               to quote "the full text ofboth 21 U.S.C. § 841(b)(1) and 851(a) statutes" as a "factual
               omission," (id. at 4), although most ofthe text ofthose statutes is not relevant to the
               resolution of Movant's claims. The undersigned has reviewed, as Judge Baverman
               undoubtedly did, the entire text of those statutes and finds it unnecessary to quote it
               all here. Movant's incessant hyperbole on immaterial issues clouds the real issue in
               this case.

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             indicates thatthe "conviction" for purposes of21 U.S.C. § 841 (b)(1 )(A)(viii) does not

             occur at the time of the first-offender adjudication if there are further proceedings in

             the state case. Moreover, Movant's continued reliance on Georgia law, e.g., to show

             that the adjudication at the guilty-plea proceeding in October 1989 was vacated in

             1992, provides no support because federal law governs the issue of when Movant's

             state conviction occurred for purposes of enhancing his federal sentence under

             § 841 (b)(I)(A)(viii). See id. at 465; United States v. Acosta, 287 F.3d 1034, 1036

             (11 th Cir. 2002).

                   The R&R also is correct that Movant's reliance on the unpublished decision in

             United States v. Bowden provides no support for his claim that his state conviction did

             not occur until 1992. No. 08-11935, 2009 WL 32755 (lIth Cir. Jan. 7,2009). The

             defendant's sentence in Bowden was enhanced based on prior felony drug convictions.

             Id. at *1. The Eleventh Circuit found the enhancement was erroneous for two reasons.

             Id. First, the government's information filed pursuant to § 851 cited the wrong

             enhancement statute (a problem not present in Movant's case). Id. Second, "the

             government failed to clearly indicate 'the previous convictions to be relied upon'

             when it listed as Bowden's first Possession ofa Controlled Substance conviction date

             not the actual date of conviction, but rather a date on which another adverse action

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             was taken against Bowden in the same-numbered case." Id. The unpublished decision

             contains no other details or discussion ofthe erroneous date ofconviction in the § 851

             notice. Id. at * 1-2. Thus, Movant's reliance on Bowden is limited to the single

             sentence quoted above, which he contends makes Bowden "on point and

             persuasive authority which should control this case." (Doc. 392 at 18.)

                   As noted in the R&R, Bowden is not binding precedent and has been

             distinguished in cases, like Movant's, where the government's § 851 notice accurately

             identified the case number of the prior conviction upon which the sentence

             enhancement was sought. (Doc. 386 at 12 n.6.) Even if Bowden were a binding

             precedent, i.e., a published decision, it refutes Movant's claim as explained below.

                   The single sentence in Bowden regarding the incorrect date of the prior

             conviction in the § 851 notice simply states that the notice listed "not the actual date

             of conviction, but rather a date on which another adverse action was taken ... in the

             ... case." Bowden, 2009 WL 32755, at *1. The defendant's appellate brief in

             Bowden provides the details regarding the prior conviction that are not in the Eleventh

             Circuit's opinion. Brief of Appellant, United States v. Bowden, No. 08-11935 (lIth

             Cir. June 27, 2008). The government's § 851 notice in Bowden stated that the

             defendant was convicted in a Florida state court of a felony drug offense "on

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             January 21, 2003." Id. at 5. In reality, (1) the defendant pled no contest to the state

             charges on October 2,2001 and was placed on community control on that date; and

             (2) the state court revoked the community control and sentenced the defendant to

             prison on January 21,2003. Id. at 6, 17. The defendant argued to the Eleventh Circuit

             that the conviction in the state case "occurred on October 2,2001," the date on which

             he pled no contest, and not the later date when his community control was revoked.

             Id. at 17. The Eleventh Circuit agreed with the defendant and found that the § 851

             notice incorrectly listed the later date   January 21, 2003   as the date of conviction

             because that date was merely "a date on which another adverse action was taken ...

             in the ... case." Bowden, 2009 WL 32755, at * 1.

                   Bowden is thus consistent with the holding in Tavira that the date on which a

             defendant pleads guilty or no contest to a state drug felony is the date on which he is

             convicted in the state case for purposes of § 84 1(b)(1)(A)(viii). And like Tavira, the

             key facts in Bowden are indistinguishable from the key facts in Movant's case.

                   Like the defendant in Bowden, Movant's plea in the state case was entered a few

             years before his probation was revoked in that case. The later date "on which another

             adverse action was taken against [Movant] in the [state] case" was not the date of the

             conviction for purposes of enhancing Movant's federal sentence. See Bowden, 2009

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             WL 32755, at * 1. Movant's first-offender status was revoked and he was sentenced

             to prison at the later state-court proceeding, just like Bowden's community control

             was revoked and a prison sentence imposed at the later proceeding in his state case.

             The Eleventh Circuit found in Bowden that the initial proceeding in state court, at

             which the plea was entered, was the date of conviction and was the date that should

             have been listed in the § 851 notice. Id. Respondent's § 851 notice in this case listed

             the date ofthe initial proceeding in Movant's state case at which the plea was entered

             - October 13, 1989. (Doc. 41.) Because the law, including Bowden and Tavira, is

             clear that October 13, 1989 was the date ofMovant's "conviction" in the state case for

             purposes of § 841 (b)(1)(A)(viii), Movant's § 2255 claims fail.

                   After a careful, de novo review, the Court finds that Movant is not entitled to

             relief under § 2255. The Court OVERRULES Movant's objections [392] and

             ADOPTS the R&R [386] as the opinion ofthe Court. Movant's § 2255 motion [379]

             and a certificate of appealability are DENIED. Civil action number 1: 13-CV-253­

             ODE-AJB is DISMISSED.

                   SO ORDERED this ~ day of September, 2013.

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                                                    ORINDA D. EVANS
                                                    UNITED STATES DISTRICT JUDGE

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